         Case 17-30132        Doc 60      Filed 05/05/17 Entered 05/05/17 09:52:41                Desc Main
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LOCAL FORM 12                                                                                                         12/2007


                                    UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF NORTH CAROLINA


In Re:                                                      )
                                                            )           Case No. 17−30132               FILED
TSI Holdings, LLC                                           )           Chapter 7                   U.S. Bankruptcy Court
                                                                                                    Western District of NC
                                                            )
                                     Debtor(s)              )                                           5/5/2017
                                                            )                                      Steven T. Salata, Clerk




                      NOTICE OF CASE SPECIFIC NAME AND/OR ADDRESS CHANGE
                                       11 U.S.C. § 342(e) AND
                                  LOCAL RULES 2002−1 and 3003−1

   Pursuant to 11 U.S.C § 342(e) and Local Rules 2002−1 and 3003−1, J. Michael and Kristen Cowling files this notice
of address to be used to provide notice in the above−captioned case. J. Michael and Kristen Cowling is aware that,
pursuant to 11 U.S.C. § 342(e)(2), any notice in this case required to be provided to the creditor by the debtor or the
court will not be provided to the address designated herein until after five (5) days following receipt of this notice of
address change by the court and the debtor(s).



Current creditor name and address:
Name:              J. Michael and Kristen Cowling
Address 1:         111 Sunset Cove Lane
Address 2:
Address 3:
Address 4:
City, State, Zip: Palm Beach Gardens, FL 33418


Revised creditor name and address:

                     for payment purposes only
                     for notice purposes only
                     for both payment and notice purposes

Name:               J. Michael and Kristen Cowling
Address 1:          96267 Piney Island Drive
Address 2:
Address 3:
Address 4:
City, State, Zip:   Fernandina Beach, FL 32034



Authorization: Under penalty of perjury, I, the undersigned, affirm that I am authorized to request this address change.

Name and position: Kristen Cowling, Creditor

Signature: (Electronic filing deems the form signed by the creditor or authorized person)

Date: 5/5/2017
